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> ‐‐‐‐‐Original Message‐‐‐‐‐
> From: Portland Copwatch <copwatch@portlandcopwatch.org>
> Sent: Friday, December 6, 2024 1:26 PM
> To: Independent Monitor Team <info@portlandpolicemonitor.com>
> Cc: Chief Bob Day <robert.day@police.portlandoregon.gov>; Buckley, Mary Claire
<MaryClaire.Buckley@police.portlandoregon.gov>; Mayor Ted Wheeler
<mayorwheeler@portlandoregon.gov>; Mary Austad <Mary_Austad@ord.uscourts.gov>; Community
members <copwatch@portlandcopwatch.org>
> Subject: Feedback on Monitoring Compliance and Methodology plans
>
> CAUTION ‐ EXTERNAL:
>
>
> Supervision of DOJ Agreement: Content Mostly Fine, Presenta on Not
> Engaging for Community
> Portland Copwatch comments on Monitor's monitoring and methodology plans
> December 6, 2024
>
> Portland Copwatch (PCW) thanks the Independent Court Monitor team
> ("Monitor") for pu ng together a dra plan for assessing Portland's
> compliance with the US Department of Jus ce (DOJ) Se lement Agreement.
> We appreciate that we had a chance to meet with members of the team in
> early October. Our biggest concern with the plan is not the substance,
> but rather the form. The team has promised that one of its highest
> priori es in taking over assessment du es from the Compliance
> Oﬃcer/Community Liaison (COCL) is to engage the community and create
> documents that people can understand without being lawyers.
> Unfortunately, the monitoring and methodology plans are confusing, not
> up‐to‐date, repe ve and, at a total of 65 pages, a bit overwhelming.
>
> Portland Copwatch (PCW) has already noted that the outcomes of the
> changes made by the City should also be included in the Monitor's
> reports (see item #3). This would cover many paragraphs which are not
> yet men oned, such as 222‐e‐viii requiring review of lawsuit data to
> examine whether the Bureau is truly a learning agency or whether they
> simply rely on the the City to shell out money as a cost of doing
> business without trying to prevent future occurrences.
>
> As much as PCW had issues with the COCL's perspec ve on what compliance
> looks like, the Monitor's plan can benefit from some things that
> consultant did to simplify the overwhelming task of reviewing dozens of
> paragraphs, especially now that there are fewer than 45 paragraphs
> remaining which are to be fully externally monitored.
>
> 1) Combine the two plans to shorten into one document
>
> The biggest issue is that these documents are redundant. An easy way to
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> consolidate the informa on would be to have each paragraph (or set of
> paragraphs‐‐ comment #2) followed by informa on about the methodology
> to be used to ensure compliance.
>
> 2) Combine similar paragraphs to shorten document
>
> The COCL combined certain paragraphs which are in the same subject
> ma er area and whose assessment could be done with similar research.
> For example, they would combine paragraphs 74, 75 and 77 which all
> pertain to reviewing data about use of Force. While it's important for
> the Monitor to be independent in their analysis, the new reports should
> retain helpful prac ces ini ated by the COCL.
>
> 3) Add outcomes plan to the shortened document
>
> The Monitoring plan does men on that the team will have to produce
> outcomes assessments every six months along with the compliance
> assessments.‐* Over me, the COCL combined these two required reviews
> into the same document. Similar to our sugges on about the plan itself,
> their assessment and outcome reports would list the compliance ra ngs
> with explana ons, followed by the outcomes for each major sec on of
> the reports. Keep it simple!
>
> 4) Cross‐reference previous sec ons when the content is the same
>
> There are 15 or so paragraphs that the City is now allowed to
> "self‐monitor." (Don't get us started on how this is something we do not
> trust given their track record.) It seems that either they can all be
> combined (see item #2) or, alterna vely, the plan can say "see plan for
> paragraph 88 for informa on." (88 is the first of the self‐monitoring
> paragraphs.)
>
> Similarly, rather than include a full meline column, the Monitor's
> paragraphs can say " meline A" (which is February 15/August 15, 2025
> and February 15, 2026 for all paragraphs, with assessments completed by
> April 1/October 1, 2025 and April 1, 2026) and TBA for all
> self‐monitoring.
>
> 5) Add short explana ons
>
> The plan's eﬀort to be clear which paragraph is being discussed li s
> the sec on headings from the Agreement but o en is not at all clear
> about the content of the paragraphs. Short summaries could be added in
> the "sub‐area" column along the lines of what PCW did when crea ng its
> own scorecard before the COCL making similar tables (though the COCL
> never adopted short‐form explana ons like the ones we illustrated).
> This is par cularly important for the self‐monitoring paragraphs which
> give no indica on at all as to the substance being reviewed.
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>
> See this one from 2021:
> h ps://www.portlandcopwatch.org/sampleDOJscorecard1121.pdf
>
> 6) Take a look at current events
>
> A separate issue is the copy‐and‐paste nature with which the Monitor
> team painstakingly recreated, nearly line‐by‐line, what the Se lement
> Agreement literally required at its outset. As a result, names remain
> that were changed in the real world but not the Agreement (such as the
> "Addic ons and Behavioral Health Unit" which simply became the
> Behavioral Health Unit). References to me that has passed since the
> adop on of the Agreement are mostly moot at this point, including, for
> instance the requirement for the civilian head of the Training Division
> (paragraph 191), whose hiring was delayed by a problema c ini al
> candidate being chosen. Paragraph 131 refers to the Auditor examining
> members of the Police Review Board, though those members are currently
> nominated by the Independent Police Review (now separated from the
> Auditor's oﬃce). A reference in paragraph 195 to holding oﬃcers
> accountable lists paragraph 169, which was replaced by paragraph 245.
>
> 7) Other specific edits that could / should be made
>
> PCW also found a few items where clarifica ons or edits would help the
> reader. For instance, the methodology for Paragraph 131 says the review
> of the Police Review Board will be done "except as enumerated in this
> paragraph." It's not clear what that means. Paragraph 195 refers
> obliquely to "the Commission" but should specifically name the Police
> Accountability Commission (PAC).
>
> Now, our advice for examining compliance and outcomes:
>
> A) A floor, not a ceiling
>
> PCW strongly recommends adop ng the philosophy expressed by the
> community, the DOJ and the COCL over these last 12 years: the Agreement
> is a floor, not a ceiling. When the City and PPB can do be er by going
> beyond the Agreement's requirements, they should be encouraged to do so.
>
> B) Look at PPB direc ves and other documents to define terms being
> used.
>
> The Use of Force Policy (1010.00) describes two kinds of de‐escala on:
> one that is done ini ally ("Proac ve," which we agree should be called
> de‐escala on) and one that is done in response to the community
> member's lowering their resistance to the police ("Reac ve," which we
> would call mi ga on of force, not de‐escala on, as the scenario has
> already been escalated).
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>
> C) Seek compliance with the spirit, not just the le er of the
> Agreement.
>
> The City has been allowed to "self‐monitor" the two paragraphs about
> presen ng the PPB's annual reports to the public and to City Council.
> Yet their outreach and precinct presenta ons have been rushed and
> lacking, and their presenta ons to Council have not incorporated any
> feedback they heard from the community, which would seem an important
> thing to include a er spending the me to listen. This is just one
> example of "checking oﬀ the boxes" without achieving the spirit of the
> goals set by the DOJ and agreed to by the City.
>
> D) Try to overcome obstacles set up by the collec ve bargaining units.
>
> The Portland Police Associa on is an intervenor in this case. The
> Portland Police Commanding Oﬃcers Associa on o en follows their lead
> when throwing up roadblocks to true transparency and accountability.
> While they have the legal right to bargain for workplace safety, and the
> Cons tu onal right not to self‐incriminate, the restric ons they have
> put on body‐worn camera use undermine the purported reason for having
> the cameras‐‐ accountability. (An excep on is that they are not allowed
> to look at the video before giving statements a er using significant
> amounts of force including deadly force, but even that has its
> limita ons.) We believe that no oﬃcer involved in a deadly force
> incident has given an on‐scene statement in these 12 years, because the
> Agreement only requires that they be asked to do so. This makes
> paragraph 127 merely performa ve.
>
> E) Don't leave the Bureau to its own devices.
>
> The last COCL report was published on July 1, the day the Monitor team
> began its work. It covered January‐March 2024. We had hoped the team
> would have its plan in place by October to review the months from
> April‐June 2024 for compliance. This is par cularly important because
> of the PPB's reportedly strong‐arm tac cs at the Portland State
> University protests for Pales nian solidarity in May. It appears that
> the first report will only cover July to December, and won't be
> published un l May 2025. We hope the three missing months of data will
> be included in the first report. It was the Bureau's response to
> protests in 2020 that led to them falling out of compliance, the
> addi onal remedies sec on, and in par cular the external review
> envisioned in Paragraph 189.
>
>
> We recognize that this plan needs to be finalized soon, but it will be a
> founda onal document that needs to be referenced moving forward and we
> hope you will take the me to make the changes we have suggested. This
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> will also help improve future publica ons by the Monitor.
>
> Thank you again for your work and we look forward to meaningful,
> easy‐to‐understand and comprehensive reports in 2025.
>
> dan handelman and other members of
> Portland Copwatch
>
> *‐ PCW missed the men on of outcomes upon our first brief review of the
> plans.
> CAUTION ‐ EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise cau on when
opening a achments or clicking on links.
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